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                                     THE LAW FIRM OF
                           HUNT, HAMLIN & RIDLEY
                                    COUNSELLORS AT LAW
FOUNDING PARTNERS                                                                     OF COUNSEL
 RONALD C. HUNT                                                                    ISAAC WRIGHT, JR.
                              NEWARK OFFICE                  PATERSON OFFICE
RAYMOND L. HAMLIN                                                                 VIELKA VELAZQUEZ
                             MILITARY PARK BUILDING          418 GRAND STREET     NOELLE VAN BAAREN
 TERRY RIDLEY               60 PARK PLACE, 16TH FLOOR        PATERSON, NJ 07505     DAWN SANFILIPPO
   1956-2012                     NEWARK, NJ 07102                                    ADAM C. BROWN
                                                                                  COURTNEY DURHAM
    _________                      ALL REPLIES TO THE NEWARK OFFICE                  __________________
                                  _________________________________________
  ASSOCIATE COUNSEL                                                               ǂALSO ADMITTED IN NY
   YADIRA C. DURAN
                                             TEL: (973) 242-4471
DENNIS HICKERSON-BREEDON
                                          TELEFAX:(973) 242-8295
                                    E-MAIL: iwright@HuntHamlinRidley.com
                                     WEB SITE: www.HuntHamlinRidley.com

                                                    June 6, 2022

      Via Electronic Filing
      Honorable Marilyn Cox Arleo
      United States District Judge
      U.S. District Court of New Jersey
      Martin Luther King Building
      & U.S. Courthouse
      50 Walnut Street,
      Newark, NJ 07101

      Re:       United States v. Creaghan Harry
                Criminal Case No. 19-246
                Reply to Government’s Opposition on Defendant’s Motion to dismiss the
                Indictment

      Dear Judge Arleo,

      Please accept this letter in-lieu of a more formal brief and in reply to the
      Government’s opposition to Defendant’s request to Dismiss the Indictment for a
      violation of the Speedy Trial Act (STA).

      The Government opposes Defendant’s request to dismiss the indictment with a
      calculation that a total of only eight (8) days have elapsed under the STA.
      Defendant is not going to belabor the Court with a blow-by-blow reasoning for the
      Government’s miscalculation and will begin this reply with the following
      suggestion…




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Instead of Defendant going into a lengthy dissertation on why the Government’s
calculation is erroneous, Defendant believes the best forum to flush out his
position, while highlighting the Government’s errors, is during the hearing on this
matter.

To make Defendant’s case that a hearing is more conducive to complex
explanations of law/fact time calculations under the STA, Defendant points to the
Government’s flagrantly misplaced understanding of how the procedural posture of
this case changes the way time is counted under the STA. For example, the
Government introduces its opposition with a totally inaccurate assessment of
Defendant’s calculation, commenting in pertinent part:

         Defendant’s estimate of 88 days incorrectly includes 27 days before the STA
         clock even began to run on May 23, 2019.

Gov. br. at 5-6; ECF No. 253 at 5. The Government goes on to reason:

         Defendant’s argument that time under the STA began to run on April 9,
         2019, is plainly incorrect as “[t]he Speedy Trial Act provides that the speedy
         trial clock begins on the filing date ‘of the information or indictment, or
         from the date the defendant has appeared before a judicial officer of the
         court in which the charge is pending, whichever date last occurs.’” United
         States v. Robinette, 177 F. Supp. 2d 279, 285 (D. Del. 2001)(citing 18
         U.S.C. § 3161(c)(1)) (emphasis added); see also United States v. Lynch, 726
         F.3d 346, 352 (2d Cir. 2013)(STA clock did not begin to run for defendant
         arrested in the District of New Jersey until defendant was arraigned on
         indictment in District of Connecticut, which was “his first appearance in the
         court in which he was charged on that indictment”); United States v.
         Wickham, 30 F.3d 1252, 1254 (9th Cir. 1994)(holding that even though the
         defendant was deemed indicted while in Texas, his STA period only began
         when he first appeared in court in California in the district in which the
         indictment was pending). Thus, the speedy trial period did not begin until
         May 23, 2019, when Defendant first appeared in the District of New Jersey
         and was subsequently detained. See id. at 285 (“Where the indictment is
         issued before arrest, however, the first appearance before a judicial officer in


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         the court where the indictment has been filed is the event that triggers a
         defendant’s speedy trial rights.”).

Gov. br. at 5-6; ECF No. 253 at 5-6.

While arguing the law correctly, the Government blunders with the pertinent
facts—the extent of which torpedoes its calculations.

To explain… The indictment in this case was filed under seal in the District Court
of New Jersey on April 5, 2019. ECF No. 1. It was unsealed on April 9, 2019.
ECF No. 3. So, yes, the indictment and, as a result, the case was pending in the
District Court of New Jersey (hereinafter “DNJ”) at the time Defendant was
arrested on April 9, 2019, in the Southern District of Florida (hereinafter “SDF”).

However, in order to accommodate Defendant’s initial appearance before the SDF
Court, that Court removed the case from the DNJ and transferred the case from the
DNJ to the SDF the same day (April 9, 2019). See SDF (West Palm Beach) case
no. 9:19-mj-08129-BER-1 at ECF No. 1 (hereinafter “SDF-ECF”); Exhibit A.
After transferring the case to the SDF, the SDF Court filed the case on the SDF
docket and stamped the indictment “filed” accordingly. See SDF-ECF No. 1;
Exhibit B. Upon successfully transferring the case to the SDF, the SDF Court then
held Defendant’s initial appearance. SDF-ECF No. 3.1

In essence, when Defendant was brought before the SDF for his initial appearance,
the case was no longer pending in the DNJ. It was pending in the SDF. Id. Thus,
upon applying the applicable law and adding the important, relevant factual and
procedural details related to the removal of the case to the SDF, it becomes clear
that the Government’s calculation is wrong.

Simply, the indictment was unsealed and removed from DNJ to the SDF on April
9, 2019. On the same day (April 9, 2019), while the case was pending before the
SDF, Defendant had his initial appearance—making his initial appearance the last
occurrence and, as a result, the triggering date for speedy trial purposes. U.S. v.

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 Once the Court concluded Defendant’s initial appearance, it removed the case from the SDF and transferred the
case back to the DNJ. ECF Nos. 5-6.


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Willaman, 437 F.3d 354, 357 (3d Cir. 2006), quoting 18 U.S.C. § 3161(c)(1)
(“[T]he trial of a defendant charged in an information or indictment [‘]shall
commence within seventy days from the filing date (and making public) of the
information or indictment or from the date the defendant has appeared before a
judicial officer of the court in which the charge is pending, whichever date last
occurs.[’]”).

Therefore, the 27 days erroneously rejected by the Government must be counted
under Speedy Trial Act jurisprudence.

This kind of detail-oriented miscalculation is permeated throughout the
Government’s response. Defendant makes two other brief points as further
examples of these errors. First, the Government’s opposition argues that the bail
motion made on May 30, 2019 (ECF No. 20), tolled the time on the speedy trial
clock until the continuance was filed on June 27, 2019. Nevertheless, Defendant
believes 27 additional days of that time period should also be counted.

On its face, the Government appears to be correct on this specific point. However,
the bail motion was placed under advisement by the Court on May 30, 2019. See
id. That motion remained under advisement for over 180-days, until November 15,
2019, when the motion was finally granted. ECF Nos. 85,86. Under the STA, only
30 days of that time is excludable. United States v. Novak, 715 F.2d 810, 820 (3d
Cir. 1983), “reasonableness standard” abrogated by Henderson v. United States,
476 U.S. 321, 330 (1986)(“All of the time involved in long postponements of
hearing dates and long extensions of time for filing responses will not qualify for
exclusion…”); Henderson v. United States, 476 U.S. 321, 327-29 (1986)
(observing that a pre-trial motion allows exclusion for up to 30 days while the
district court has the motion under advisement); Bloate v. U.S., 559 U.S. 196, 206-
07 (2010)(pointing out that delay from the filing of pretrial motions is
automatically excludable under § 3161(h)(1)(D) through either “prompt
disposition” by the Court or the expiration of the 30 day period that the motion is
taken under advisement); see also United States v. Graves, 722 F.3d 544, 546 (3rd
Cir. 2013).




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It is clear from the docket that additional papers were filed by the parties during the
180-day period. Those papers were filed well after the 30-day advisement period
had elapsed and, therefore, are outside of the statute’s specific limitation period on
excludable time when a case is under advisement. Id. See also 18 U.S.C. §
3161(h)(1)(J)

Second, the Government argues that this Court entered a continuance on October
3, 2019 that extended until January 10, 2020. The Government goes further and
argues that although the Court did not mention the words “ends of justice” or refer
to the section of the statute governing continuances, the Court set forth reasons
sufficient to satisfy the “ends of justice” requirement. Gov. br. at 7-8; ECF No.
253. What the Government fails to appreciate is that this Court did not mention
the word “continuance” either. In other words, while the Court scheduled the next
hearing date 90-days away for discovery review purposes, an actual order of
continuance was never entered for that period of time, either orally or otherwise.

The governing law, including cases cited by the Government, are unequivocal that
in order for a constructive “ends of justice” finding to be gleaned from the record,
an actual continuance order must be entered first, either orally or on the docket.
U.S. v. Lattany, 982 F.2d 866, 871 (3d Cir. 1992), quoting 18 U.S.C. §
3161(h)(8)(A)(Excludable time includes “[a]ny period of delay resulting from
a continuance granted by any judge on his own motion or at the request of the
defendant or his counsel or at the request of the attorney for the Government”).
(Emphasis added). See also, United States v. Wilson, 216 F. Supp. 3d 566, 580
(E.D. Pa. 2016)(A continuance “must be granted prior to the days being
excluded… The court must also state its reasons for granting the continuance,
though that statement can be made sometime after the order is issued.”)(emphasis
added); United States v. Reese, 917 F.3d 177, 182 (3d Cir. 2019) (“[A] district
court’s continuance order issued on a template continuance form was sufficient
to exclude time under the Act where the district court checked a box on the form
corresponding to language tracking the applicable exclusion under the Speedy
Trial Act and later supplemented the record with further details of the factual basis
for exclusion.”)(emphasis added); and Zedner v. United States, 547 U.S. 489, 506-
07 (2006).



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In the absence of a continuance order, the time between October 3, 2019 and
January 10, 2020, cannot be excluded based upon an ends of justice continuance as
the Government argues—requiring a recalculation of the Government’s position on
excludable time.

In the case at bar, more than 70-days have passed under the STA. As espoused in
Defendant’s moving papers and exemplified above, the Government’s calculations
are in error and Defendant’s request should be granted after a hearing on the matter
where calculations under the SPA can be fully articulated and flushed out.

                                 CONCLUSION

For all the foregoing reasons stated above, Defendant respectfully requests and
does pray that this Honorable Court grant his request to dismiss the indictment for
a violation of the STA’s time requirements.

                                                Respectfully submitted,

                                                s/Isaac Wright, Jr. Esq.
                                                Attorney ID No. 015092008


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C:       File




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